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                                    STATE OF NEW HAMPSHIRE
STRAFFORD, SS.                                                                        SUPERIOR COURT
                                              Melissa Tripp
                                          224 Little Niagra Road
                                           Strafford, NH 03884

                                                      v.

                                           Exeter Hospital, Inc.
                                             5 Alumni Drive
                                            Exeter, NH 03833
                                                219-2023-CV-00069
                                    Docket No: ________________

                      COMPLAINT AND REQUEST FOR JURY TRIAL

        NOW COMES Melissa Tripp, Plaintiff, by and through her attorney, Law Office of

Leslie H. Johnson, PLLC, and complains against Exeter Hospital, Inc., Defendant, and in support

thereof states as follows:

                                            INTRODUCTION

                          PLAINTIFF REQUESTS A TRIAL BY JURY

        1.       Ms. Melissa Tripp, brings this action pursuant to the statutory and common laws

of the State of New Hampshire and the United States, particularly New Hampshire’s Law

Against Discrimination, RSA 354-A, et seq. and Title VII, for religious discrimination including

termination, hostile environment and failure to accommodate. Ms. Tripp also files a claim for

wrongful discharge, based upon her objection to the flu vaccine and request for religious

exemption, and also because her conscientious objection is supported by other public policies.

Ms. Tripp seeks to recover all damages as allowed by law, and all equitable relief to which she is

entitled.

                                                    PARTIES

        2.       Ms. Melissa Tripp (hereinafter, “Ms. Tripp” or “Plaintiff”), is a resident of



                                                       1

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Strafford, Strafford County, New Hampshire, who was employed by Exeter Hospital, Inc. from

approximately June 17, 2019 until her termination on Defendant 1, 2020.

       3.       Exeter Hospital, Inc. (hereinafter “EHI” or “Defendant”) is a domestic non-profit

corporation in the County of Rockingham, with a principal mailing address of 5 Alumni Drive,

Exeter, NH 03833. Defendant’s President, Kevin J. Callahan; Chairman of the Board of

Directors, William Schleyer; and Treasurer, Kevin J. O’Leary have an address of, and/or are

located at, c/o Exeter Hospital, Inc., 9 Alumni Drive, Exeter, NH 03833.

       4.       EHI is responsible for the actions of their employees, under the theories of

vicarious liability and/or respondeat superior, as well as their own actions and failures to act.

                                   JURISDICTION & VENUE

       5.       Venue and jurisdiction are proper as Ms. Tripp is a resident of Strafford County,

New Hampshire, and resided there at all times pertinent to this Complaint.

       6.       Ms. Tripp filed a timely Charge of Discrimination with the New Hampshire

Commission for Human Rights (“NHCHR”), Case EF(R) 0115-21 / 16D-2021-00089, on March

26, 2021. The Charge was withdrawn from the NHCHR and a Notice of Right to Sue was issued

by the EEOC on November 22, 2022 and received on November 26, 2022. This Complaint is

filed within 90 days of receipt of the Notice of Right to Sue.

                                    STATEMENT OF FACTS

       7.       Ms. Tripp was employed by EHI from approximately June 17, 2019 as a

Registered Nurse working on a per diem basis, until she was wrongfully terminated for

discriminatory and retaliatory reasons on December 1, 2020. Ms. Tripp was expecting to

increase her hours to full time.

       8.       Ms. Tripp identifies as a person of faith.



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        9.       This claim is for discrimination on the basis of religion, and failure to

accommodate her religious beliefs, as well as retaliation for requesting the accommodation of not

having to take the flu shot.

        10.      Ms. Tripp’s job was as a Registered Nurse, who worked in the PAT department,

usually in her office, which had 8-foot partitions blocking noise and also effectively creating

social distance for employees. Ms. Tripp’s job was calling to call patients to review medical

charts, which did not require direct physical contact with patients. Neither did Ms. Tripp provide

direct patient care.

        11.      In the previous year Ms. Tripp declined the influenza vaccine by filing the

required form, which was accepted by EHI, on the basis of a religious exemption.

        12.      Upon information and belief, EHI gets a bonus from the government, or is not

fined, for reaching certain percentages of vaccination of its employees. Therefore, the

requirement of vaccines, despite potential deleterious health effects of the vaccine and that it

constitutes a battery, is at least partially for financial gain of EHI. It is believed that hospitals

below a certain vaccination rate receive less reimbursement from Medicare/Medicaid.

In addition, it is possible that EHI gets a bonus for each employee vaccinated, which will be

determined through discovery.

        13.      Given Ms. Tripp did not directly work with patients, and she could have been

accommodated as in the past, there was no valid reason for EHI to require her to receive a flu

vaccine. In the past, Ms. Tripp and others were required to wear a mask when working with

patients if they declined the flu vaccine, which Ms. Tripp begrudgingly did.




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       14.      On or about September 24, 2020, EHI sent out a memo to all staff explaining the

2020-2021 Influenza Vaccine Requirement, along with a “Declination Request for Influenza

Vaccination.”

       15.      The referenced Exeter Hospital, Inc. Policy, requires that the employee complete

“consent Form #797”. While Ms. Tripp is not in possession of that form, she assumes it waives

any liability, either to the manufacturer and/or the hospital, for deleterious effects of the shot,

including death, as well as allowing transmission of private health information re: receipt of the

vaccine, despite any objection.

       16.      Requiring a flu vaccine that includes a waiver of liability, and allowing private

health information to be transmitted, is unconscionable.

       17.      Said Declination form asked the reason for declining the vaccination, including

allergic reaction, and any Guillain Barre Syndrome event. It also included declination for a

“sincerely held religious beliefs impacting my decision to decline vaccination,” which box Ms.

Tripp checked off.

       18.      The nature of Ms. Tripp’s religious beliefs was, and are, none of EHI’s business,

as delving into them is intrusive, and not allowed.

       19.      Near the end of October 2020, Ms. Tripp completed a Flu Shot Exemption Form,

indicating declination due to personal and religious reasons due to ingredients in the vaccine.

       20.      Employees who failed to have the vaccine, or be granted an exemption, were

threatened by Defendant with a “suspension” or termination from work.

       21.      Forcing medical treatment on a person, particularly a vaccination, constitutes a

battery.




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       22.     In fact, requiring an employee to receive a flu vaccine is believed contrary to state

law:

       N.H. Rev. Stat. Ann. § 151:9-b requires that “[b]efore November 30th of each
       year, each hospital, residential care facility ... shall provide to its consenting
       employees annual immunizations against influenza, in accordance with the
       recommendations of the Advisory Committee on Immunization Practices of the
       Centers for Disease Control, and subject to the availability of an adequate supply
       of the necessary vaccine, and subject to exemptions for medical
       contraindications and religious beliefs.” RSA 151:9-b, IV, in pertinent part
       (emphasis added.)

       23.     The EHI form, in part, states” “[r]eligious exemption requests will be reviewed by

the Religious Exemption Review Panel to ensure that the exemption is firmly held and sincere.”

It does not state who is qualified to pass judgment on employees’ religious beliefs, and this is

contrary to individuals’, including Ms. Tripp’s, rights to religious liberty.

       24.     Ms. Tripp was advised by Chris Callahan, Vice President of Human Resources,

that additional information was required to support her request for the flu shot exemption.

       25.     Mr. Callahan threatened that Ms. Tripp would be terminated for failing to provide

information which she believed to be private, including to give details of her “faith” and/or if she

had health conditions which would prevent her from having the flu shot.

       26.     Mr. Callahan contacted Ms. Tripp a few weeks after she filed her exemption form,

asking what ingredients within the vaccine she was against.

       27.     Ms. Tripp provided further information, as requested, and explained her long-

standing and sincerely held religious beliefs. She explained she objected to fetal tissue, dog

kidney cells, additional chemicals and additives, and stated, “We do not believe in changing our

body in any way and keeping it as pure as possible.” The reality is that flu vaccines can contain

(but are not limited to) chemicals, preservatives, mammalian cells, and more.




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        28.    There were multiple email exchanges between Mr. Callahan and Ms. Tripp. She

filled out her second exemption form to state that her reason for declination was “sincerely held

and longstanding religious beliefs.” Mr. Callahan asked for her religious denomination. An

employee should not have to explain their religious beliefs. In fact, one does not need to be part

of any denomination to have firmly held religious beliefs.

        29.    During the multiple email exchanges between Ms. Tripp and Mr. Callahan, she

specifically requested (1) to know who made up the review committee and their qualifications to

determine her faith as sincere or not; and (2) that she be present during the meeting that was to

determine her fate.

        30.    Ms. Tripp’s reasonable request was denied, and she was told they did not allow

staff to be present during these discussions. Ms. Tripp was also not given any further

information about who makes up this committee and their qualifications, as if anyone is qualified

to determine if someone’s religious beliefs are valid or sincerely held.

        31.    To the best of Plaintiff’s knowledge, by November 27, 2020, EHI’s committee

had still not reviewed Ms. Tripp’s 2nd form.

        32.    Ms. Tripp was denied the flu shot exemption but provided with no written

explanation of same, and on Friday, November 27, she was informed by a Ms. Wagner, that if

she did not receive her shot by November 30, her employment would cease on December 1,

2020.

        33.    On December 1, 2020, Ms. Tripp was terminated for failing to agree to and to

receive the flu shot, a battery, despite her request for an exemption as a reasonable

accommodation.




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       34.     The flu shot, year to year, is believed to have a very low (infinitesimal), efficacy

rate, not supporting the risks incurred by receipt of the vaccine.

       35.     EHI had no right to impose their judgment regarding Ms. Tripp’s personal

religious beliefs, which were grounded in her faith, as she expressed in her exemption request

and reconsideration, including believing she should keep her body as pure as possible, avoid

vaccines which may contain (but are not limited to) chemicals, preservatives, mammalian cells,

and more. Ms. Tripp objected to being involuntarily injected with the flu vaccine, which was

against her religious beliefs.

       36.     As an employer, EHI should not have delved deeply into their employees’

religious beliefs, as that is discriminatory, intrusive, unwarranted, and contrary to applicable law.

       37.     In addition, in denying the request, the employer recognized that Ms. Tripp in fact

did have sincerely held religious beliefs.

       38.     Ms. Tripp’s termination constitutes religious discrimination as she provided

sufficient information to justify her exemption request.

       39.     Ms. Tripp’s termination was discriminatory and in retaliation for requesting the

flu shot exemption for her religious beliefs.

       40.     EHI failed to reasonably accommodate Ms. Tripp and her religious beliefs, which

easily could have been done with no undue hardship, just as it had been in the past years, which

also proved the accommodation worked. Defendant failed to grant Ms. Tripp this reasonable

accommodation.

       41.     Employees should not have to forfeit their rights under the state law and the

constitution, and rights under state statutory law, or the right to be free from a battery, in order to

maintain their employment.



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        42.     Ms. Tripp’s exemption request supported by her constitutional and statutory rights

should have had priority over Defendant's financial gain.

        43.     Ms. Tripp was subjected to an assault; in that she was put in fear of physical

contact, and was fired for refusing to consent to a battery (physical contact against her free will).

        44.     Upon information and belief, many other employees were forced into taking the

flu vaccine against their wishes because they were unable to afford to lose their jobs. Those

vaccinations constitute a battery, as said shots are believed to have occurred under duress, threat

of job loss.

        45.     An employee who undergoes a vaccine mandated under the threat of job loss does

not “voluntarily” receive the vaccine, and doing so violates their constitutional rights.

        46.     The actions described herein, and as experienced by Ms. Tripp, constitute

harassment, failure to accommodate, discrimination and retaliation, all contrary to NH RSA 354-

A, et seq., and Title VII.

        47.     Ms. Tripp was discriminated against by EHI based on her religion and her request

for a religious exemption. She was harassed on the basis of her sincerely held religious beliefs.

        48.     Ms. Tripp was retaliated against by EHI for filling out exemption forms, for

declining to get the vaccine as described above, including but not limited to attempting to coerce

and threaten her into being vaccinated by threatening her job, denying her exemption, failing to

meaningfully enter the interactive process or providing an accommodation, and then terminating

her in retaliation for her exercise of her rights.

        49.     In fact, it appears there were no established standards for granting or denying an

exemption, and the offer to consider same was illusory.

        50.     EHI knew, or should have known, that their actions described herein were illegal.



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EHI’s actions were contrary to the law and done knowingly, maliciously, with reckless

indifference to Ms. Tripp’s protected rights, and were egregious and wanton, thus justifying an

award of enhanced/liberal compensatory damages and punitive damages.

       51.     Due to the actions of EHI, Ms. Tripp claims damages which are within the

jurisdictional limits of this Court, including damages for punitive damages, liberal

compensatory/enhanced damages, back and front pay and lost benefits, emotional distress,

embarrassment, humiliation, aggravation, anxiety, fear, loss of sleep, physical and emotional

symptoms and distress, damages to reputation, tax consequences, reasonable costs and attorneys'

fees related to this action, and all other damages as allowed by law, which Ms. Tripp has suffered

due to the discrimination/harassment and retaliation, and for her other claims, by EHI and its

agents as set forth herein.

       52.     Ms. Tripp requests all equitable relief to which she may be entitled, including but

not limited to reinstatement, revision of the Defendant’s exemption/declination policies for

vaccines, including flu and covid, to avoid trampling employee’s religious freedom, and freedom

to choose their own course of medical treatment.

                                 COUNT I
                      RSA 354-A, et seq., and TITLE VII
     RELIGIOUS DISCRIMINATION, HARASSMENT/HOSTILE ENVIRONMENT

       53.     Ms. Tripp incorporates herein each and every allegation elsewhere in the

Complaint as if fully set forth herein, and further states as follows:

       54.     Ms. Tripp asserts that she was discriminated against because of her religious

beliefs, as described above.

       55.     NH RSA 354-A, et seq., and Title VII, prohibit discrimination on the basis of

religion and religious beliefs, including a hostile environment, and termination on the basis of



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religious beliefs.

        56.     Title VII prohibits “discriminat[ion] against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such individual's race,

color, religion, sex, or national origin.” Xiaoyan Tang v. Citizens Bank, N.A., 821 F.3d 206, 215

(1st Cir. 2016) quoting from 42 U.S.C. § 2000e–2(a)(1). NH RSA 354-A, et. seq. is consistent

therewith, including NH RSA 354-A:2.

        57.     Once an employee, such as Ms. Tripp, demonstrates their religious belief conflicts

with an employment condition, “the burden then shifts to the employer to show that it offered a

reasonable accommodation or, if it did not offer an accommodation, that doing so would have

resulted in undue hardship.” Id.

        58.     Ms. Tripp suffered discrimination, harassment and hostile environment on the

basis of her religion; she was treated differently than her co-workers, ostracized, and experienced

a hostile environment, which no reasonable person should be forced to endure.

        59.     For Ms. Tripp to disobey sincerely held religious beliefs would violate her

conscience.

        60.     Ms. Tripp claims that the treatment she received as described herein was on the

basis of her religious beliefs, and constituted religious discrimination and harassment, all

contrary to NH RSA 354-A, et seq., and Title VII.

        61.     Ms. Tripp claims the religious discrimination/hostile environment caused her

damages as set forth herein.

        62.     Ms. Tripp requests all damages as available under the applicable laws, and all

equitable relief to which she may be entitled.




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                                     COUNT II
                          RSA 354-A, et seq., and TITLE VII
             RELIGIOUS DISCRIMINATION/FAILURE TO ACCOMMODATE

       63.     Ms. Tripp incorporates herein each and every allegation elsewhere in the

Complaint as if fully set forth herein, and further states as follows:

       64.     Ms. Tripp’s reasonable accommodation based on her religious beliefs, entailed

allowing Ms. Tripp to wear a mask when others are within six feet of her while at the office, was

at least partially a reasonable accommodation, and in fact, EHI had required Ms. Tripp to work

under this very same scenario the year before with no undue hardship to EHI.

       65.     The mask wearing is believed to actually be unreasonable under the law, however,

in order to maintain her job, Ms. Tripp complied with that request.

       66.     Ms. Tripp’s reasonable accommodation was not a hardship upon EHI; however,

instead of accommodating her, as required by law for her religious beliefs, it terminated her in

violation of NH RSA 354-A, et seq., and Title VII.

       67.     Ms. Tripp claims the discrimination against her and failure to accommodate her

religious rights, have caused her damages as set forth elsewhere herein.

       68.     Ms. Tripp requests all damages as available under the applicable laws, and all

equitable relief to which she may be entitled.

                                       COUNT III
                             RSA 354-A, et seq., and TITLE VII
                           RETALIATION BASED ON RELIGION

       69.     Ms. Tripp incorporates herein each and every allegation elsewhere in the

Complaint as if fully set forth herein, and further states as follows:

       70.     EHI retaliated against Ms. Tripp, by denying her request for reasonable

accommodations, requiring her to do things which were not actually “reasonable”, such as mask



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wearing, acted in a hostile manner during the meeting about her accommodation, did not

seriously consider her accommodation and then fired her, all in retaliation for her exercise of her

rights to religious freedom, including but not limited to the filing of her exemption request.

          71.   Ms. Tripp claims she was retaliated against based on her religious beliefs and

pursuing her rights thereunder, by her termination and otherwise, which has caused her damages.

          72.   Ms. Tripp requests all damages as available under the applicable laws, and all

equitable relief to which she may be entitled.

                                        COUNT IV
                                   WRONGFUL DISCHARGE

          73.   Ms. Tripp incorporates herein each and every allegation elsewhere in the

Complaint as if fully set forth herein, and further states as follows:

          74.   EHI wrongfully discharged Ms. Tripp, not only because of her request for a

religious exemption, but because she refused to have the vaccine, which exemption they

approved the year prior.

          75.   Ms. Tripp’s religious concerns as expressed in her exemption requests coincides

with a right not to be involuntarily subjected to a vaccine against her will by being injected.

          76.   Ms. Tripp’s objection to and refusal to have the vaccine, also constitutes a

conscientious objection, and is an act that public policy, rules, regulations and the law support.

          77.   As a result of her refusal to submit to the flu vaccine, she was harassed, retaliated

against, and fired, which constitutes a wrongful discharge.

          78.   Said wrongful discharge has caused Ms. Tripp damages as set forth elsewhere

herein.

          79.   Ms. Tripp claims all damages as allowed to her by law, and all equitable relief to

which she may be entitled.


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       WHEREFORE, Ms. Tripp respectfully prays that this Honorable Court and/or a jury

order and award the following relief:

       A.        Back wages, together with lost fringe benefits and any other benefits, including

increased retirement benefits, which Ms. Tripp would have earned had she not been terminated;

       B.        Future wages, fringe benefits, loss of earning capacity and other benefits;

       C.        Enhanced/liberal compensatory, liquidated, and double damages;

       D.        Punitive damages;

       E.        An amount to be awarded by the Court to make up for any adverse tax

consequences due to any judgment or award;

       F.        All damages which are available under the above-cited laws;

       G.        All available pre-judgment and post-judgment interest;

       H.        Reasonable attorneys’ fees, interest and costs;

       I.        Reinstatement to the position that Plaintiff should have held;

       J.        An injunction against EHI from mandating any flu and/or covid-related

vaccine/shots;

       K.        All equitable relief which may be available, as appropriate; and

       L.        Such other and further relief as is just and equitable.

                                                        Respectfully submitted,
                                                        MELISSA TRIPP, Plaintiff
                                                        By her attorney

Dated: February 24, 2023                                       /s/ LESLIE H. JOHNSON
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